Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 1 of 48   PageID #: 1




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AND THE NORTH RIVER INSURANCE COMPANY

                    UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

UNITED STATES FIRE                        CV
INSURANCE COMPANY, a foreign
insurance company, THE NORTH              COMPLAINT FOR
RIVER INSURANCE COMPANY, a                DECLARATORY RELIEF
foreign insurance company,

                      Plaintiffs,

         vs.

PACIFIC COFFEE INC. d/b/a MAUI
COFFEE COMPANY, a Hawaii
corporation; and MNS LTD., a Hawaii
corporation;

                                      1
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 2 of 48          PageID #: 2




                  Defendants.
________________________________

                 COMPLAINT FOR DECLARATORY RELIEF

      Plaintiffs United States Fire Insurance Company (hereinafter “USFIC”) and

The North River Insurance Company (hereinafter “NRIC”) submit this Complaint

for Declaratory Relief pursuant to 28 U.S.C. § 2201 and Fed.R.Civ.P. 57.

                                 I.     PARTIES

       1.    Plaintiff USFIC is a foreign insurance company organized under the

 laws of the State of Delaware with its principal place of business in the State of

 New Jersey. USFIC at all material times has transacted business in the State of

 Hawaii.

       2.    Plaintiff NRIC is a foreign insurance company organized under the

 laws of the State of Delaware with its principal place of business in the State of

 New Jersey. NRIC at all material times has transacted business in the State of

 Hawaii.

      3.     Defendant Pacific Coffee Inc. d/b/a Maui Coffee Company (“PCI”) is

 a Hawaii corporation with its principal place of business in the State of Hawaii.

      4.     Defendant MNS Ltd. (“MNS”) is a Hawaii corporation, with its

 principal place of business in the State of Hawaii. MNS owns and operates retail

 stores under the business name “ABC Stores.”


                                          2
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 3 of 48           PageID #: 3




                       II.       JURISDICTION AND VENUE

       5.    Jurisdiction is properly before this Court pursuant to 28 U.S.C. §1332

 as complete diversity exists among the parties and the amount in controversy

 exceeds $75,000.

       6.    The Court has jurisdiction over this declaratory judgment action

 pursuant to 28 U.S.C. § 2201 because there is an actual and justiciable controversy

 between the parties with respect to the existence of insurance coverage under the

 policies of insurance issued by Plaintiffs. A judicial determination and declaration

 of the rights and obligations of the parties is necessary and appropriate at this time

 because Plaintiffs have no adequate remedy at law which will resolve the current

 controversy.

       7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because

 this action involves a dispute over the application of insurance coverage under

 policies written out of the State of Hawaii, the alleged events and omissions which

 gave rise to this claim occurred in this district, and because Defendants are subject

 to this Court’s jurisdiction.

                        III.     FACTUAL BACKGROUND

       8.    This case arises from commercial general liability and commercial

 umbrella policies of insurance issued by Plaintiffs to PCI and the claims asserted




                                           3
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 4 of 48         PageID #: 4




 in the Underlying Lawsuit1.

          9.   The Underlying Lawsuit is a class action filed by Claimants on behalf

 of coffee farmers that grow coffee in the Kona District of the Big Island of

 Hawaii, as defined by Hawaii regulations. Claimants allege that PCI and MNS

 (along with other named coffee supplier and retailer defendants) distribute and/or

 sell coffee described as “Kona” coffee that does not actually originate from the

 Kona Region of Hawaii.

          10. Claimants allege that PCI and MNS (and the other named defendants)

 have flooded the market with counterfeit “Kona” coffee, causing prices for Kona

 coffee to drop sharply. Claimants further allege that, because the coffee

 distributed and sold by PCI and MNS as “Kona” coffee tastes like ordinary

 commodity coffee, consumers have been deceived into believing that Kona coffee

 is not a special product and are unwilling to pay a premium price for authentic

 Kona coffee. As a result, Claimants allege that they have lost profits and PCI and

 MNS have been unjustly enriched.

          11. Claimants allege that authentic Kona coffee can only be grown within

 3,800 acres of land located in the Kona District. Claimants further allege that the

 unique environment in the Kona District results in a coffee with distinctive


      1
        Corker, et al. v. Costco Wholesale Corporations, et al., United States
District Court for the Western District of Washington Case No. 2:19-CV-00290-
RSL will be referred to herein as the “Underlying Lawsuit”.

                                          4
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 5 of 48        PageID #: 5




 qualities that warrants a premium price. According to the Claimants, Kona

 farmers produce only 2.7 million pounds of authentic Kona coffee beans each

 year. However, over 20 million pounds of coffee labeled as “Kona” coffee is sold

 each year. Claimants allege that they would be able to sell authentic Kona coffee

 at a premium price and earn greater profits but for the alleged actions of PCI and

 MNS (and the other named defendants).

       13. The pleadings in the Underlying Lawsuit assert that one can determine

with high confidence whether coffee is truly grown in the Kona District based on

scientific testing that identifies the relative concentration of certain chemical

elements that are unique to coffee beans grown in Kona.

       14. Claimants allege that PCI sells a variety of coffee products throughout

the United States through its website and through various retail outlets, including

the ABC Stores owned by MNS. Claimants further allege that PCI falsely

designates the origin of its “Kona” coffee products with prominent placement of

“100% KONA” on the front of its packaging and the description of its products on

its website and other internet advertising. Claimants allege that the chemical

testing conducted on PCI’s products show that PCI’s designation of Kona as the

origin of its products is false.

       15. Claimants allege that PCI’s deceptive product descriptions are

deliberate and designed to mislead consumers into believing PCI’s coffee products


                                         5
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 6 of 48         PageID #: 6




only contain coffee from Kona in order to justify premium prices when PCI’s

coffee products actually contain ordinary commodity coffee beans. The Claimants

further allege that PCI’s deceptive marketing, product names and package designs

are all intended to trade off the reputation and goodwill of the Kona name.

       16. Claimants allege that MNS sells counterfeit Kona coffee products

supplied by PCI and other coffee suppliers throughout the United States. Claimants

allege that MNS wrongfully profits from each sale of counterfeit coffee product.

       17. The pleadings in the Underlying Lawsuit describe the alleged conduct

by PCI and MNS as “malicious.” Claimants further allege that PCI and MNS are

sophisticated participants in the premium coffee market and that they may utilize

professional coffee buyers to source coffee for their products. Based on this,

Claimants assert that PCI and MNS know the true nature of what they are buying

and selling.

       18. The Underlying Lawsuit asserts one cause of action against PCI and

MNS described as False Designation of Origin, False Advertising and Unfair

Competition under Lanham Act § 43(a) (11 U.S.C. § 1125(a)). The Underlying

Lawsuit’s original complaint alleged that PCI and MNS violated the Lanham Act

by falsely designating Kona as the origin of the coffee products they manufacture,

distribute and/or sell when such products actually contain beans from other parts of

the world. The Underlying Lawsuit’s amended complaints add that PCI and MNS


                                         6
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 7 of 48         PageID #: 7




also violated the Lanham by falsely advertising and/or designating the origin of

their coffee products in a way that is likely to confuse or deceive consumers as to

the source of the coffee products. The Underlying Lawsuit’s operative complaint

alleges that PCI and MNS’ false designation damaged the reputation and goodwill

of the Kona name and damaged the market value of authentic Kona coffee.

       19. Claimants seek damages and a permanent injunction restraining PCI

and MNS from using Kona in their packaging and/or advertising. As a component

of their damages, Claimants seek an award of money to finance a national

corrective advertising campaign. Claimants also seek an award of three times their

actual damages because PCI and MNS knew the coffee they sold was not actually

from Kona. Claimants described this conduct as a deliberate, willful and

intentional violation of the Lanham Act. In addition, Claimants allege they are

entitled to recover the profits earned by PCI and MNS for coffee products falsely

designated as originating from Kona.

       20. Upon receiving notice of the Underlying Lawsuit and the claims

asserted against PCI, Plaintiffs opened a claim, initiated their investigation, and

USFIC agreed to defend PCI, the named insured under the subject policies, under

an express reservation of rights.

       21. Thereafter, MNS tendered a claim for defense and coverage as a

purported additional insured under the subject policies. In response to that tender,


                                         7
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 8 of 48           PageID #: 8




USFIC agreed to defend MNS with regard to the Underlying Lawsuit under an

express reservation of rights.

       22. Upon information and belief, there is no written contract or agreement

between MNS and PCI governing their supplier-retailer relationship. No such

contract or agreement has been provided to Plaintiffs.

                       IV.       POLICIES OF INSURANCE

A.    Identification of the Commercial General Liability Policies

       23. USFIC issued multiple commercial general liability policies to PCI

which were in effect from September 10, 2014 through September 10, 2019. These

policies include the following:

      •   5037736581, effective 09/10/14 to 09/10/15 (the “14-15 CGL Policy”)
      •   5038349265, effective 09/10/15 to 09/10/16 (the “15-16 CGL Policy”)
      •   5038390089, effective 09/10/16 to 09/10/17 (the “16-17 CGL Policy”)
      •   5038472043, effective 09/10/17 to 09/10/18 (the “17-18 CGL Policy”)
      •   5038555095, effective 09/10/18 to 09/10/19 (the “18-19 CGL Policy”)

These policies are hereinafter collectively referred to as the “CGL Policies”.

       24. Each of the CGL Policies has a $1,000,000 per person or organization

limit for Personal and Advertising Injury, $1,000,000 per occurrence limit for

Bodily Injury and Property Damage Liability, a $2,000,000 general aggregate

limit, and include the terms, conditions and exclusions set forth below.

B.    Provisions of the Commercial General Liability Policies

       25. The CGL Policies contain the following insuring agreement for


                                          8
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 9 of 48        PageID #: 9




Bodily Injury and Property Damage liability (“Coverage A”):

            COVERAGE A BODILY INJURY AND PROPERTY
            DAMAGE LIABILITY

            1. Insuring Agreement

               a. We will pay those sums that the insured becomes
                  legally obligated to pay as damages because of
                  "bodily injury'' or "property damage" to which this
                  insurance applies. We will have the right and duty
                  to defend the insured against any "suit" seeking
                  those damages. However, we will have no duty to
                  defend the insured against any "suit" seeking
                  damages for "bodily injury'' or "property damage”
                  to which this insurance does not apply. We may, at
                  our discretion, investigate any "occurrence" and
                  settle any claim or ''suit" that may result. But:

                  (1) The amount we will pay for damages is limited
                      as described in Section III – Limits Of
                      Insurance; and
                  (2) Our right and duty to defend ends when we
                      have used up the applicable limit of insurance
                      in the payment of judgments or settlements
                      under Coverages A or B or medical expenses
                      under Coverage C.

                  No other obligation or liability to pay sums or
                  perform acts or services is covered unless
                  explicitly provided for under Supplementary
                  Payments – Coverages A and B.

               b. This insurance applies to “bodily injury” and
                  “property damage” only if:

                  (1) The “bodily injury” or “property damage” is
                      caused by an “occurrence” that takes place in
                      the “coverage territory.


                                       9
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 10 of 48         PageID #: 10




                   (2) The “bodily injury” or “property damage”
                       occurs during the policy period.
                   (3) Prior to the policy period, no insured listed
                       under Paragraph 1. of Section II – Who Is An
                       Insured and no "employee" authorized by you
                       to give or receive notice of an "occurrence" or
                       claim, knew that the "bodily injury" or
                       "property damage" had occurred, in whole or in
                       part. If such a listed insured or authorized
                       "employee" knew, prior to the policy period,
                       that the "bodily injury" or "property damage"
                       occurred, then any continuation, change or
                       resumption of such "bodily injury" or "property
                       damage" during or after the policy period will
                       be deemed to have been known prior to the
                       policy period.

                c. "Bodily Injury" or "property damage" which
                   occurs during the policy period and was not, prior
                   to the policy period, known to have occurred by
                   any insured listed under Paragraph 1. of Section II
                   – Who Is An Insured or any "employee"
                   authorized by you to give or receive notice of an
                   "occurrence" or claim, includes any continuation,
                   change or resumption of "bodily injury" or
                   "property damage" after the end of the policy
                   period.

                d. "Bodily injury" or "property damage" will be
                   deemed to have been known to have occurred at
                   the earliest time when any insured listed under
                   Paragraph 1. of Section II – Who Is An Insured or
                   any "employee" authorized by you to give or
                   receive notice of an "occurrence" or claim:

                   (1) Reports all, or any part, of the "bodily injury"
                       or "property damage" to us or any other insurer;
                   (2) Receives a written or verbal demand or claim
                       for damages because of the "bodily injury" or
                       "property damage"; or

                                        10
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 11 of 48            PageID #: 11




                     (3) Becomes aware by any other means that
                         "bodily injury" or "property damage" has
                         occurred or has begun to occur.

                  e. Damages because of "bodily injury" include
                     damages claimed by any person or organization for
                     care, loss of services or death resulting at any time
                     from the "bodily injury''.

 CG 00 01 12 07

        26. The CGL Policies contain the following Coverage A exclusions:

             2. Exclusions

                  This insurance does not apply to:

                  a. Expected Or Intended Injury

                     "Bodily injury" or "property damage" expected or
                     intended from the standpoint of the insured. This
                     exclusion does not apply to "bodily injury'' or
                     “property damage” resulting from the use of
                     reasonable force to protect persons or property.


                  b. Contractual Liability

                     "Bodily injury" or "property damage" for which
                     the insured is obligated to pay damages by reason
                     of the assumption of liability in a contract or
                     agreement. This exclusion does not apply to
                     liability for damages:

                     (1) That the insured would have in the absence of
                         the contract or agreement; or
                     (2) Assumed in a contract or agreement that is an
                         "insured contract", provided the "bodily injury"
                         or "property damage" occurs subsequent to the
                         execution of the contract or agreement. Solely

                                           11
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 12 of 48            PageID #: 12




                      for the purposes of liability assumed in an
                      "insured contract", reasonable attorney fees and
                      necessary litigation expenses incurred by or for
                      a party other than an insured are deemed to be
                      damages because of "bodily injury" or
                      "property damage", provided:

                      (a) Liability to such party for, or for the cost of,
                          that party's defense has also been assumed in
                          the same "insured contract"' and
                      (b) Such attorney fees and litigation expenses
                          are for defense of that party against a civil or
                          alternative dispute resolution proceeding in
                          which damages to which this insurance
                          applies are alleged.
                […]
                o. Personal and Advertising Injury

                   "Bodily injury" arising out of “personal and
                   advertising injury.”
                […]
                q. Distribution Of Material In Violation Of
                   Statutes

                   “Bodily injury” or “property damage” arising
                   directly or indirectly out of any action or omission
                   that violates or is alleged to violate:

                   (1) The Telephone Consumer Protection Act
                       (TCPA), including any amendment of or
                       addition to such law;
                   (2) The CAN-SPAM Act of 2003, including any
                       amendment of or addition to such law;
                   (3) The Fair Credit Reporting Act (FCRA),
                       including any amendment of or addition to such
                       law, including the Fair and Accurate Credit
                       Transaction Act (FACTA); or
                   (4) Any federal, state or local statute, ordinance or
                       regulation, other than the TCPA, CAN-SPAM
                       Act of 2003 or FCRA and their amendments

                                         12
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 13 of 48       PageID #: 13




                      and additions, that addresses, prohibits, or
                      limits the printing, dissemination, disposal,
                      collecting, recording, sending, transmitting,
                      communicating or distribution of material or
                      information.

 CG 00 01 12 07, as modified by CG 00 68 05 09

        27. The CGL Policies contain the following insuring agreement for

 Personal and Advertising Injury (“Coverage B”):

             COVERAGE B PERSONAL AND ADVERTISING
             INJURY LIABILITY

             1. Insuring Agreement

                a. We will pay those sums that the insured becomes
                   legally obligated to pay as damages because of
                   "personal and advertising injury" to which this
                   insurance applies. We will have the right and duty
                   to defend the insured against any "suit" seeking
                   those damages. However, we will have no duty to
                   defend the insured against any "suit" seeking
                   damages for "personal and advertising injury" to
                   which this insurance does not apply. We may, at
                   our discretion, investigate any offense and settle
                   any claim or ''suit" that may result. But:

                   (1) The amount we will pay for damages is limited
                       as described in Section III – Limits Of
                       Insurance; and
                   (2) Our right and duty to defend ends when we
                       have used up the applicable limit of insurance
                       in the payment of judgments or settlements
                       under Coverages A or B or medical expenses
                       under Coverage C.

                   No other obligation or liability to pay sums or
                   perform acts or services is covered unless

                                       13
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 14 of 48           PageID #: 14




                     explicitly provided for under Supplementary
                     Payments – Coverages A and B.

                  b. This insurance applies to "personal and advertising
                     injury" caused by an offense arising out of your
                     business but only if the offense was committed in
                     the “coverage territory” during the policy period.

 CG 00 01 12 07

        28. The CGL Policies contain the following Coverage B exclusions:

             2. Exclusions

                  This insurance does not apply to:

                  a. Knowing Violation Of Rights Of Another

                     “Personal and advertising injury” caused by or at
                     the direction of the insured with the knowledge
                     that the act would violate the rights of another and
                     would inflict “personal and advertising injury.”

                  b. Material Published With Knowledge of Falsity

                     “Personal and advertising injury” arising out of
                     oral or written publication of material, if done by
                     or at the direction of the insured with knowledge
                     of its falsity.

                  c. Material Published Prior To The Policy Period

                     “Personal and advertising injury” arising out of
                     oral or written publication of material whose first
                     publication took place before the beginning of the
                     policy period.
                  […]
                  e. Contractual Liability




                                          14
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 15 of 48         PageID #: 15




                   “Personal and advertising injury” for which the
                   insured has assumed liability in a contract or
                   agreement. This exclusion does not apply to
                   liability for damages the insured would have had in
                   the absence of the contract or agreement.

                f. Breach of Contract

                   “Personal and advertising injury” arising out of a
                   breach of contract, except an implied contract to
                   use another's advertising idea in your
                   "advertisement".

                g. Quality Or Performance of Goods – Failure To
                   Conform to Statements

                   “Personal and advertising injury” arising out of the
                   failure of goods, products or services to conform
                   with any statement of quality or performance made
                   in your “advertisement.”
                […]
                i. Infringement of Copyright, Patent, Trademark
                   Or Trade Secret

                   “Personal and advertising injury” arising out of the
                   infringement of copyright, patent, trademark, trade
                   secret or other intellectual property rights. Under
                   this exclusion, such other intellectual property
                   rights do not include the use of another’s
                   advertising idea in your “advertisement”.

                   However, this exclusion does not apply to
                   infringement, in your “advertisement”, of
                   copyright, trade dress or slogan.
                […]
                l. Unauthorized Use Of Another’s Name Or
                   Product

                   “Personal and advertising injury” arising out of the
                   unauthorized use of another’s name or product in

                                        15
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 16 of 48         PageID #: 16




                   your e-mail address, domain name or meta tags, or
                   any other similar tactics to mislead another’s
                   potential customers.
                […]
                p. Distribution Of Material In Violation Of
                   Statutes

                   “personal and advertising injury” arising directly
                   or indirectly out of any action or omission that
                   violates or is alleged to violate:

                (1) The Telephone Consumer Protection Act (TCPA),
                    including any amendment of or addition to such
                    law;
                (2) The CAN-SPAM Act of 2003, including any
                    amendment of or addition to such law;
                (3) The Fair Credit Reporting Act (FCRA), including
                    any amendment of or addition to such law,
                    including the Fair and Accurate Credit Transaction
                    Act (FACTA); or
                (4) Any federal, state or local statute, ordinance or
                    regulation, other than the TCPA, CAN-SPAM Act
                    of 2003 or FCRA and their amendments and
                    additions, that addresses, prohibits, or limits the
                    printing, dissemination, disposal, collecting,
                    recording, sending, transmitting, communicating
                    or distribution of material or information.

 CG 00 01 12 07, as modified by CG 00 68 05 09
        29. The CGL Policies contain the following Additional Insured

 Endorsement:




                                        16
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 17 of 48           PageID #: 17




                    ADDITIONAL INSURED – VENDORS
             […]

                                   SCHEDULE

                  Name of Additional              Your Products
                    Person(s) or
               Organization(s) (Vendor)
              MNS LTD.                          SALES: $50.000
              766 POHUKAINA STREET              PREMIUM: $6.
              HONOLULU, HI 96813


              Information required to complete this Schedule, if not
              shown above, will be shown in the Declarations.

             […]

             A. Section II – Who is An Insured is amended to
                include as an additional insured any person(s) or
                organization(s) (referred to below as vendor) shown in
                the Schedule, but only with respect to “bodily injury”
                or “property damage” arising out of “your products”
                shown in the Schedule which are distributed or sold in
                the regular course of the vendor’s business, subject to
                the following additional exclusions:

                1. The insurance afforded the vendor does not apply
                   to:

                   a. “Bodily injury” or “property damage” for which
                      the vendor is obligated to pay damages by
                      reason of the assumption of liability in a contract
                      or agreement. This exclusion does not apply to
                      liability for damages that the vendor would have
                      in the absence of the contract or agreement;
                   b. Any express warranty unauthorized by you;
                   c. Any physical or chemical change in the product
                      made intentionally by the vendor;
                   d. Repackaging, except when unpacked solely for


                                         17
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 18 of 48            PageID #: 18




                        the purpose of inspection, demonstration,
                        testing, or the substitution of parts under
                        instructions from the manufacturer, and then
                        repackaged in the original container;
                     e. Any failure to make such inspections,
                        adjustments, tests or servicing as the vendor has
                        agreed to make or normally undertakes to make
                        in the usual course of business, in connection
                        with the distribution or sale of the products;
                     f. Demonstration, installation, servicing or repair
                        operations, except such operations performed at
                        the vendor’s premises in connection with the
                        sale of the product;
                     g. Products which, after distribution or sale by you,
                        have been labeled or relabeled or used as a
                        container, part or ingredient of any other thing
                        or substance by or for the vendor; or
                     h. “Bodily injury” or “property damage” arising
                        out of the sole negligence of the vendor for its
                        own acts or omissions or those of its employees
                        or anyone else acting on its behalf. However,
                        this exclusion does not apply to:

                         (1) The exceptions contained in Sub-
                             paragraphs d. or f.; or
                         (2) Such inspections, adjustments, tests or
                             servicing as the vendor has agreed to
                             make or normally undertakes to make in the
                             usual course of business, in connection with
                             the distribution or sale of the products.

                  2. This insurance does not apply to any insured
                     person or organization, from whom you have
                     acquired such products, or any ingredients, part or
                     container, entering into, accompanying or
                     containing such products.

 CG 20 15 07 04

        30. The CGL Policies contain the following provisions regarding an

                                           18
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 19 of 48         PageID #: 19




 insured’s duties in event of a loss:

              SECTION IV – COMMERCIAL GENERAL
              LIABILITY CONDITIONS
              […]
              2.  Duties In The Event of Occurrence, Offense,
                  Claim Or Suit
                     a. You must see to it that we are notified as soon
                        as practicable of an "occurrence" or an
                        offense which may result in a claim. To the
                        extent possible, notice should include:

                        (1) How, when and where the "occurrence" or
                            offense took place;
                        (2) The names and addresses of any injured
                            persons and witnesses; and
                        (3) The nature and location of any injury or
                            damage arising out of the "occurrence"
                            or offense.

                     b. If a claim is made or "suit" is brought against
                        any insured, you must:

                        (1) Immediately record the specifics of the
                            claim or "suit" and the date received; and
                        (2) Notify us as soon as practicable.

                        You must see to it that we receive written
                        notice of the claim or "suit" as soon as
                        practicable.

                     c. You and any other involved insured must:

                        (1)Immediately send us copies of any
                            demands, notices, summonses or legal
                            papers received in connection with the
                            claim or "suit";
                        (2) Authorize us to obtain records and other
                            information;


                                         19
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 20 of 48         PageID #: 20




                        (3) Cooperate with us in the investigation or
                            settlement of the claim or defense against
                            the "suit"; and
                        (4) Assist us, upon our request, in the
                            enforcement of any right against any
                            person or organization that may be liable
                            to the insured because of injury or
                            damage to which this insurance may also
                            apply.

                    d. No insured will, except at that insured's own
                       cost, voluntarily make a payment, assume any
                       obligation, or incur any expense, other than
                       for first aid, without our consent.

 CG 00 01 12 07

        31. The CGL Policies contain the following definitions that are applicable

 to the foregoing provisions:

              Throughout this policy the words "you" and "your" refer
              to the Named Insured shown in the Declarations, and any
              other person or organization qualifying as a Named
              Insured under this policy. The words "we", "us" and
              "our" refer to the company providing this insurance.

              The word "Insured" means any person or organization
              qualifying as such under Section II - Who Is An Insured.
              […]
              SECTION V - DEFINITIONS

              1. "Advertisement" means a notice that is broadcast or
                 published to the general public or specific market
                 segments about your goods, products or services for
                 the purpose of attracting customers or supporters. For
                 the purposes of this definition:




                                         20
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 21 of 48         PageID #: 21




                a. Notices that are published include material placed
                   on the internet or on similar electronic means of
                   communication; and
                b. Regarding websites, only that part of a website that
                   is about your goods, products or services for the
                   purposes of attracting customers or supporters is
                   considered an advertisement.
             […]
             3. “Bodily injury” means bodily injury, sickness or
                disease sustained by a person, including death
                resulting from any of these.
             […]
             9. "Insured contract" means:
                […]
                f. That part of any other contract or agreement
                   pertaining to your business (including an
                   indemnification of a municipality in connection
                   with work performed for a municipality) under
                   which you assume the tort liability of another party
                   to pay for "bodily injury" or "property damage" to
                   a third person or organization. Tort liability means
                   a liability that would be imposed by law in the
                   absence of any contract or agreement.
             […]
             13."Occurrence" means an accident, including
                continuous or repeated exposure to substantially the
                same general harmful conditions.

             14.“Personal and advertising injury” means injury,
                including consequential “bodily injury”, arising out of
                one or more of the following offenses:

                a. False arrest, detention or imprisonment;
                b. Malicious prosecution;
                c. The wrongful eviction from, wrongful entry into,
                   or invasion of the right of private occupancy of a
                   room, dwelling or premises that a person occupies,
                   committed by or on behalf of its owner, landlord or
                   lessor;


                                        21
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 22 of 48        PageID #: 22




                d. Oral or written publication, in any manner, of
                   material that slanders or libels a person or
                   organization or disparages a person’s or
                   organization’s goods, products or services;
                e. Oral or written publication, in any manner, or
                   material that violates a person’s right of privacy;
                f. The use of another’s advertising idea in your
                   “advertisement”; or
                g. Infringing upon another’s copyright, trade dress or
                   slogan in your “advertisement”.
             […]
             17."Property damage” means:

                a. physical injury to tangible property, including all
                   resulting loss of use of that property. All such
                   loss of use shall be deemed to occur at the time of
                   the physical injury that caused it; or
                b. Loss of use of tangible property that is not
                   physically injured. All such loss of use shall be
                   deemed to occur at the time of the "occurrence"
                   that caused it.
             […]
             20.“Your product”

                a. means:

                   (1) Any goods or products, other than real
                       property,    manufactured,     sold, handled,
                       distributed or disposed of by:

                      (a) You;
                      (b) Others trading under your name; or
                      (c) A person or organization whose business or
                          assets you have acquired; and

                   (2) Containers (other than vehicles), materials,
                       parts or equipment furnished in connection with
                       such goods or products.

                b. includes:


                                        22
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 23 of 48             PageID #: 23




                      (1) Warranties or representations made at any time
                          with respect to the fitness, quality, durability,
                          performance or use of "your product"; and
                      (2) The providing of or failure to provide warnings
                          or instructions.

                   c. Does not include vending machines or other
                      property rented to or located for the use of others
                      but not sold.

 CG 00 01 12 07

 C.       Identification of the Umbrella Policies

          32. NRIC issued multiple commercial umbrella policies to PCI which

 were in effect from September 10, 2014 through September 10, 2019. These

 policies include the following:

      •   5238004653, effective 09/10/14 to 09/10/15 (the “14-15 Umbrella Policy”)
      •   5238029169, effective 09/10/15 to 09/10/16 (the “15-16 Umbrella Policy”)
      •   5238045774, effective 09/10/16 to 09/10/17 (the “16-17 Umbrella Policy”)
      •   5238068211, effective 09/10/17 to 09/10/18 (the “17-18 Umbrella Policy”)
      •   5238087579, effective 09/10/18 to 09/10/19 (the “18-19 Umbrella Policy”)

 The above-referenced excess policies are hereinafter collectively referred to as the

 “Umbrella Policies”.

          33. The Umbrella Policies provide excess coverage over the CGL Policies

 with limits up to $1,000,000 per occurrence, $1,000,000 aggregate for Personal

 Advertising Injury, and $1,000,000 General Aggregate.




                                            23
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 24 of 48            PageID #: 24




        34. The Umbrella Policies apply to covered liability in excess of the CGL

 Policies, subject to the terms and provisions set forth in the Umbrella Policies.

 D.    Provisions of the Umbrella Policies

        35. The Umbrella Policies contain the following pertinent provisions with

 regard to who is an insured:

              III. WHO IS AN INSURED
              […]
                 B. Each of the following is also an Insured:
              […]
                    5. any person, organization, trust, or estate that
                       has obligated you by an “Insured Contract” to
                       provide the Insurance that is afforded by this
                       policy, but this policy applies.

                        a. only up to the policy limits required by the
                           “Insured Contract”, subject to the limits of
                           this policy; and
                        b. only with respect to “Bodily Injury”,
                           “Property Damage” or “Personal and
                           Advertising Injury” that occurs subsequent
                           to the time you enter into the “Insured
                           Contract”; and
                        c. only with respect to liability arising out of
                           “Your Work”, “Your Product” or property
                           owned or used by you, or with respect to
                           other liability arising out of your negligence.
              […]
                    9. any person, organization, or trust, other than an
                       additional insured, included as an insured in the
                       “Underlying Insurance”.

 FM 101.0.1108 08 05




                                           24
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 25 of 48        PageID #: 25




        36. The Umbrella Policies contain the following insuring agreement and

 defense settlement provisions:

             I. COVERAGE – INSURING AGREEMENT

             A. We will pay on behalf of the insured those sums in
                excess of the “Retained Limit” which the insured by
                reason of liability imposed by law, or tort liability
                assumed by the insured under an “Insured Contract”
                entered into prior to the “Occurrence”, shall become
                legally obligated to pay as damages because of
                “Bodily Injury”, “Property Damage” or “Personal and
                Advertising Injury”. We will also pay on behalf of the
                insured those sums in excess of the “Retained Limit”
                which the insured becomes legally obligated to pay as
                a “Covered Pollution Cost or Expense”.


                However, the amount we pay for damages, or
                damages and a “Covered Pollution Cost or Expense”,
                is limited as described in SECTION V. LIMITS OF
                INSURANCE.
             B. With respect to “Bodily Injury” and “Property
                Damage”:

                1. This insurance applies only if:

                    a. the “Bodily Injury” or “Property Damages” is
                       caused by an “Occurrence” that occurs in the
                       coverage territory during the Policy Period
                       stated in item 2. Of the Declarations; and
                    b. prior to the Policy Period, no insured listed
                       under paragraph A. or B. of SECTION III.,
                       WHO IS AN INSURED, and no “Employee”
                       authorized by you to give or receive notice of
                       an “Occurrence” or claim, knew that the
                       “Bodily Injury” or “Property Damage” had
                       occurred, in whole or in part. If such a listed


                                         25
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 26 of 48         PageID #: 26




                      Insured or authorized “Employee” knew, prior
                      to the Policy Period, that the “Bodily Injury” or
                      “Property Damage” occurred, then any
                      continuation, change, or resumption of such
                      “Bodily Injury” or “Property Damage” during
                      or after the Policy Period will be deemed to
                      have been known prior to the Policy Period and
                      therefore not occurring during the Policy
                      Period.

                2. “Bodily Injury” or “Property Damage” which
                   occurs during the Policy Period stated in item 2. Of
                   the Declarations and was not, prior to the Policy
                   Period, known to have occurred by any Insured
                   listed under paragraph A. or B. of SECTION III.,
                   WHO IS AN INSURED or any “Employee”
                   authorized by you to give or receive notice of an
                   “Occurrence” or a claim, includes any
                   continuation, change or resumption of that “Bodily
                   Injury” or “Property Damage” after the end of the
                   Policy Period.

                3. “Bodily Injury” or “Property Damage” will be
                   deemed to have been known to have occurred at
                   the earliest time when any insured listed under
                   paragraph A. or B. of SECTION III., WHO IS AN
                   INSURED or any “Employee” authorized by you
                   to give or receive notice of an “Occurrence” or
                   claim:

                   a. reports all, or any part, of the “Bodily Injury”
                      or “Property Damage” to us or any other
                      Insurer;
                   b. receives a written or verbal demand or claim for
                      damages because of the “Bodily Injury” or
                      “Property Damage”; or
                   c. becomes aware of any other means that “Bodily
                      Injury” or “Property Damage” has occurred or
                      has begun to occur.


                                        26
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 27 of 48          PageID #: 27




                4. Damages because of “Bodily Injury” include
                   damages claimed by any person or organization for
                   care, loss of services or death resulting at any time
                   from the “Bodily Injury”.

             C. With respect to “Personal and Advertising Injury”,
                 this insurance applies only if the “Personal and
                 Advertising Liability” is caused by an “Occurrence”
                 committed in the coverage territory during the Policy
                 Period stated in item 2. Of the Declarations.
             […]
             II. DEFENSE SETTLEMENT

             A. We will have the right and duty to defend the Insured
                against any “Suit” seeking damages, or damages and
                “Covered Pollution Cost or Expense”, covered by the
                terms and conditions of this policy, even if the
                allegations are groundless, false or fraudulent, when:

                1. the applicable limits of the “Underlying Insurance”
                   and “Other Insurance” have been exhausted by
                   payment of judgements or settlements; or
                2. damages, or damages and “Covered Pollution Cost
                   or Expense”, are sought which are not covered by
                   the terms and conditions of “Underlying
                   Insurance” or “Other Insurance”.
             […]
             D. In those circumstances where paragraph A. above
                does not apply, we will have the right but not the
                obligation to investigate, negotiate, settle or defend
                any claim or “Suit” brought against, or applicable to,
                any insured.

                We will have the right and opportunity but not the
                obligation to associate and participate with the Insured
                or any provider of “Underlying Insurance” or “Other
                Insurance” in the investigation, negotiation, settlement
                or defense of any claim or “Suit” reasonably likely to
                involve this policy.


                                         27
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 28 of 48       PageID #: 28




                If we exercise such rights, we will do so at our own
                expense.
             E. We will not defend any “Suit” after we have
                exhausted by payment of settlements or judgements
                the applicable Limits of Insurance.

             F. If we are prevented by law or statute from complying
                with SECTION II. DEFENSE SETTLEMENT of this
                policy, we will reimburse the insured for any expense
                incurred with our prior written consent.

 FM 101.0.1108 08 05
       The 15-16 Umbrella Policy, 16-17 Umbrella Policy, 17-18 Umbrella Policy

 and 18-19 Umbrella Policy contain the following amendment to the Insuring

 Agreement by endorsement:

             Paragraphs B.1.b., B.2. and B.3. of Section I
             COVERAGE – INSURING AGREEMENT are
             amended to delete reference to paragraph B. of Section
             III. WHO IS AN INSURED.
 FM 101.0.2381 08 08
        37. The Umbrella Policies exclude coverage for Expected or Intended

 Injury and Contractual Liability under the same or similar language contained in

 the CGL Policies with regard to Coverage A (bodily injury and property damage).

 The Umbrella Policies also exclude “Personal and Advertising Injury” coverage

 for Knowing Violation of Rights of Another, Material Published with

 Knowledge of Falsity, Material Published Prior to Policy Period, Contractual

 Liability, Quality or Performance of Goods – Failure to Conform to



                                       28
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 29 of 48      PageID #: 29




 Statements, Infringement of Copyright, Patent, Trademark Or Trade Secret

 and Unauthorized use of Another’s Name or Product under the same or similar

 language contained in the CGL Policies with regard to Coverage B.

        38. The Umbrella Policies also contain the following exclusions:

             VII. EXCLUSIONS

                This policy does not apply to:

                […]

                O. PROFESSIONAL SERVICES

                   “Bodily Injury” or “Property Damage” or
                   “Personal and Advertising Injury” due to the
                   rendering or failure to render any professional
                   service. This includes but is not limited to:

                   1. Legal, accounting or advertising services;
                   2. Preparing, approving, or failing to prepare or
                     approve maps, drawings, opinions, reports,
                     surveys,     change     orders,    designs   or
                     specifications;
             […]
               V. VIOLATION   OF   STATUTES   THAT
                  GOVERN E-MAILS, FAX, PHONE CALLS,
                  OR OTHER METHODS OF SENDING
                  MATERIAL OR INFORMATION

                   This policy does not apply to “Bodily Injury” or
                   “Property Damage”, or “Personal and Advertising
                   Injury” arising directly or indirectly out of any
                   action or omission that violates or is alleged to
                   violate:




                                        29
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 30 of 48           PageID #: 30




                    1. The Telephone Consumer Protection Act
                       (TCPA), including any amendment of or
                       addition to such law;
                     2. The CAN-SPAM Act of 2003, including any
                        amendment of or addition to such law;
                     3. The Fair Credit Reporting Act (FCRA),
                        including any amendment of or addition to such
                        law, including the Fair and Accurate Credit
                        Transaction Act (FACTA); or
                     4. Any federal, state or local statute, ordinance or
                        regulation, other than the TCPA, CAN-SPAM
                        Act of 2003 or FCRA and their amendments
                        and additions, that addresses, prohibits, or
                        limits the printing, dissemination, disposal,
                        collecting, recording, sending, transmitting,
                        communicating or distribution of material or
                        information.

 FM 101.0.1108 08 05, as modified by FM 101.0.2196 06 11

        39. The Umbrella Policies contain the following provisions regarding an

 insured’s duties in event of a loss:

              IX. CONDITIONS
              […]
              G. DUTIES IN THE EVENT OF OCCURRENCE, CLAIM OR
                 SUIT

                  1. You must see to it that we are notified as soon as
                     practicable of an "occurrence" or an offense which
                     may result in a claim. To the extent possible,
                     notice should include:

                     a. How, when and where the "occurrence" or
                        offense took place;
                     b. The names and addresses of any injured
                        persons and witnesses; and




                                          30
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 31 of 48       PageID #: 31




                   c. The nature and location of any injury or
                      damage arising out of the "occurrence" or
                      offense.

                   This requirement applies       only   when     the
                   “Occurrence” is known to:
             […]
                   d. an “Executive Officer” or insurance manager,
                      if you are a corporation; or
             […]
               2. If a claim or “Suit” is brought against any insured
                  that is likely to involve this policy, you must:

                   a. Immediately record the specifics of the claim
                      or "suit" and the date received; and;
                   b. see to it that we are notified as soon as
                      practicable.
                   c. The nature and location of any injury or
                      damage arising out of the "occurrence" or
                      offense.

                   This requirement will not be considered breached
                   unless the breach occurs after such claim or
                   “Suit” is known to:
             […]
                   d. an “Executive Officer” or insurance manager,
                      if you are a corporation; or
             […]
               3. You and any other involved insured must:

                   a. immediately send us copies of any demands,
                      notices, summonses or legal papers received
                      in connection with the claim or "suit";
                   b. authorize us to obtain records and other
                      information;
                   c. cooperate with us in the investigation or
                      settlement of the claim or defense against the
                      "Suit"; and




                                       31
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 32 of 48           PageID #: 32




                     d. assist us, upon our request, in the enforcement
                        of any right against any person or organization
                        that may be liable to the insured because of
                        injury, damage or “Covered Pollution Cost or
                        Expense” to which this insurance may also
                        apply.

                  4. No insured will, except at that insured's own cost,
                     voluntarily make a payment, assume any
                     obligation, or incur any expense, other than for
                     first aid, without our consent.

 FM 101.0.1108 08 05

        40. The Umbrella Policies contain the following provisions with regard to

 Loss Payments:

             IX. CONDITIONS
             […]
             J. LOSS PAYMENTS

             1. We are liable for payment under this policy for any one
                "Occurrence" only when the amount of the "Retained
                Limit" with respect to such "Occurrence" has been
                paid.

             2. If we are obliged to indemnify the Insured for any
               payment of judgments or settlements, the Insured must
               make a written claim within 12 months of:

               a. actually paying any amount in excess of the
                  "Retained Limit"; or
               b. the Insured's liability being made certain by

                   (1) the final judgment of a trial; or
                   (2) the written agreement of the Insured, the claimant
                       and us.




                                          32
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 33 of 48        PageID #: 33




                 If any later payments are made by the Insured for the
                 same "Occurrence", written claim for these payments
                 must likewise be made. We will reimburse you for
                 these payments within 30 days of confirming that they
                 are payable by this policy.

              3. The Insured will reimburse us promptly for any amount
                 of judgments and settlements paid on behalf of the
                 Insured that is within the Self-Insured Retention.

 FM 101.0.1108 08 05

        41. The Umbrella Policies contain the following definitions that are

 applicable to the foregoing provisions:

              Throughout this policy the words "you" and "your" refer
              to the Named Insured shown in the Declarations, and any
              other person or organization qualifying as a Named
              Insured under this policy. The words "we", "us" and
              "our" refer to the company providing this insurance.

              The word "Insured" means any person or organization
              qualifying as such under Section III – WHO IS AN
              INSURED.
              […]
              IV. DEFINITIONS

                 "Advertisement" means a notice that is broadcast or
                 published to the general public or specific market
                 segments about your goods, products or services for
                 the purpose of attracting customers or supporters.

                 For the purposes of this definition:

                    1. Notices that are published include material
                       placed on the internet or on similar electronic
                       means of communication; and




                                           33
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 34 of 48         PageID #: 34




                   2. Regarding websites, only that part of a website
                      that is about your goods, products or services
                      for the purposes of attracting customers or
                      supporters is considered an advertisement.

               “Bodily injury” means bodily injury, sickness,
               disease, disability, shock, mental anguish, mental
               injury or humiliation sustained by a person, including
               death resulting from any of these at any time.
             […]
               "Insured Contract” means:
             […]
                  6. That part of any other contract or agreement
                      pertaining to your business (including an
                      indemnification of a municipality in connection
                      with work performed for a municipality) under
                      which you assume the tort liability of another
                      party to pay for "Bodily Injury" or "Property
                      Damage" to a third person or organization. Tort
                      liability means a liability that would be
                      imposed by law in the absence of any contract
                      or agreement
             […]
             "Occurrence" means:

                   1. with respect to “Bodily Injury” or “Property
                      Damage”, an accident, including continuous
                      or repeated exposure to substantially the same
                      general harmful conditions that results in
                      “Bodily Injury” or “Property Damage” that is
                      not expect or intended by the insured.

                      All damages, or damages and “Covered
                      Pollution Cost or Expense”, that arise from
                      continuous     or     repeated  exposure   to
                      substantially the same general conditions are
                      considered to arise from one “Occurrence”.

                   2. with respect to “Personal and Advertising
                      Injury”, an offense arising out of your business.

                                        34
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 35 of 48         PageID #: 35




                      All damages that arise from exposure to the
                      same act, publication or general conditions are
                      considered to arise from one “Occurrence”
                      regardless of:

                      a. the frequency of repetition;
                      b. the number, kind and type of media used; or
                      c. the number of claimants.

                "Other Insurance" means:

                   1. any insurance policy affording coverage to any
                      Insured for damages or “Covered Pollution
                      Cost or Expense”       for which this policy also
                      provides coverage; or
                   2. any type of Self-Insurance or other mechanism
                      by which an insured arranges funding of legal
                      liabilities for which this policy also provides
                      coverage;

                “Other Insurance” does not include:

                   1. “Underlying Insurance”; or
                   2. any insurance policy purchased expressly to
                      apply in excess of the insurance afforded by
                      this policy;

                “Personal and advertising injury” means injury,
                including consequential “Bodily Injury”, arising out
                of one or more of the following offenses:

                   1. False arrest, detention or imprisonment;
                   2. Malicious prosecution;
                   3. The wrongful eviction from, wrongful entry
                      into, or invasion of the right of private
                      occupancy of a room, dwelling or premises that
                      a person occupies, committed by or on behalf
                      of its owner, landlord or lessor;


                                        35
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 36 of 48         PageID #: 36




                   4. Oral or written publication, in any manner, of
                      material that slanders or libels a person or
                      organization or disparages a person’s or
                      organization’s goods, products or services;
                   5. Oral or written publication, in any manner, or
                      material that violates a person’s right of
                      privacy;
                   6. The use of another’s advertising idea in your
                      “Advertisement”;
                   7. Infringing upon another’s copyright, trade dress
                      or slogan in your “Advertisement”; or
                   8. discrimination in violation of a federal or state
                      civil rights law claimed by a natural person
                      unless such insurance thereof is prohibited by
                      law.
             […]
               "Property damage” means:

                   1. Physical injury to tangible property, including
                      all resulting   loss of use of that property. All
                      such loss of use shall be deemed to occur at the
                      time of the physical injury that caused it; or
                   2. Loss of use of tangible property that is not
                      physically injured. All such loss of use shall be
                      deemed to occur at the time of the "occurrence"
                      that caused it.
             […]
               "Retained Limit” means:

                   1. with respect to any “Occurrence” that is
                      covered by “Underlying Insurance” or “Other
                      Insurance”, the total of the applicable limits of
                      “Underlying Insurance” and “Other Insurance”;
                      or
                   2. with respect to any “Occurrence” that is not
                      covered by “Underlying Insurance” or “Other
                      Insurance”, the amount of the Self-Insured
                      Retention stated in item 4.(f) of the
                      Declarations
             […]

                                        36
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 37 of 48         PageID #: 37




                "Underlying Insurance” means:

                   1. the policies and/or Self-Insurance listed in
                      Schedule A – Schedule of Underlying
                      Insurance;
                   2. the policies and/or Self-Insurance listed in any
                      Supplemental Schedules of Underlying
                      Insurance attached to this Policy by
                      endorsement; and.
                   3. any other policies and/or Self-Insurance for
                      newly acquired or formed organizations.
             […]
               “Your product" means:

                   1. Any goods or products, other than real
                      property,    manufactured,     sold, handled,
                      distributed or disposed of by:

                      a. You;
                      b. Others trading under your name; or
                      c. A person or organization whose business or
                         assets you have acquired; and

                   2. Containers (other than vehicles), materials,
                      parts or equipment furnished in connection with
                      such goods or products.

                “Your product” includes:

                   1. Warranties or representations made at any time
                      with respect to the fitness, quality, durability,
                      performance or use of "your product"; and
                   2. The providing of or failure to provide warnings
                      or instructions.

                “Your product” does not include vending machines or
                other property rented to or located for the use of
                others but not sold.

                "Your work" means:

                                        37
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 38 of 48          PageID #: 38




                    1. Work or operations performed by you or on
                       your behalf; and
                    2. Materials, parts or equipment furnished in
                       connection with such work or operations.

                 “Your work” includes:

                    1. Warranties or representations made at any time
                       with respect to the fitness, quality, durability,
                       performance or use of "your work", and
                    2. The providing of or failure to provide warnings
                       or instructions.

 FM 101.0.1108 08 05
        42. Plaintiffs reserve the right to assert any other language from the CGL

 Policies or the Umbrella Policies that may be potentially applicable to this matter.

        43. In accordance with applicable Hawaii law, Plaintiffs now bring this

 claim for Declaratory Judgment seeking a judicial determination that they do not

 owe any defense or indemnity obligations to PCI and MNS for some or all of the

 claims asserted against them in the Underlying Lawsuit.

  V.     NO COVERAGE IS AVAILABLE TO PCI AND MNS UNDER THE
                         CGL POLICIES

        44. Plaintiffs reassert paragraphs 1 through 43 and incorporate the same

 as though fully stated herein.

        45. Under Coverage A, the CGL Policies provide coverage for “bodily

 injury” and “property damage” caused by an “occurrence”, as those terms are

 defined, provided that any such “bodily injury” or “property damage” occurs


                                          38
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 39 of 48       PageID #: 39




 during the policy period and the insured did not know, in whole or in part, about

 the alleged “bodily injury” or “property damage” prior to the inception of any

 applicable policy period.

        46. There is an actual and justiciable controversy as to whether the claims

 against PCI and MNS involve claims for “bodily injury” or “property damage” as

 those terms are defined by the CGL Policies.

        47. There is an actual and justiciable controversy as to whether of the

 claims asserted against PCI and MNS involve an “occurrence” as that term is

 defined by the CGL Policies.

        48. There is an actual and justiciable controversy as to whether any

 “bodily injury” or “property damage” occurred during any of the applicable policy

 periods.

        49. There is an actual and justiciable controversy as to whether PCI and

 MNS had knowledge, in whole or in part, of any alleged “property damage” prior

 to the inception of one or more of the CGL Policies’ policy periods.

        50. The CGL Policies only provide additional insured coverage to persons

 or entities named in the Schedule, but only with respect to “bodily injury” or

 “property damage” arising out of PCI’s coffee products.

        51. There is an actual and justiciable controversy as to whether the

 Underlying Lawsuit alleges MNS is liable for “bodily injury” or “property


                                         39
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 40 of 48          PageID #: 40




 damage” arising out of PCI’s coffee products.

        52. There is an actual and justiciable controversy as to whether MNS is

 entitled to a defense or any coverage as an additional insured for the claims

 asserted in the Underlying Lawsuit under the terms of the CGL Policies.

        53. The CGL Policies’ exclude additional insured coverage for an

 additional insured’s failure to make such inspections, adjustments, tests or

 servicing as the additional insured has agreed to make or normally undertakes to

 make in the usual course of business, in connection with the distribution or sale of

 PCI’s coffee products.

        54. There is an actual and justiciable controversy as to whether MNS’

 liability arises out of their failure to make such inspections, adjustments, tests or

 servicing that MNS agreed to make or normally undertakes to make in the usual

 course of business, in connection with the distribution or sale of PCI’s coffee

 products.

        55. Pursuant to the CGL Policies, coverage is excluded for "bodily injury"

 or "property damage" expected or intended from the standpoint of the insured.

        56. There is an actual and justiciable controversy as to whether PCI and

 MNS expected or intended any alleged "bodily injury" or "property damage".

        57. Pursuant to the CGL Policies, coverage is excluded for "bodily

 injury", "property damage", and “personal and advertising injury” for which the


                                          40
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 41 of 48          PageID #: 41




 insured is obligated to pay damages by reason of the assumption of liability in a

 contract or agreement that is not an “insured contract”.

        58. There is an actual and justiciable controversy as to whether PCI and

 MNS are obligated to pay damages for alleged "bodily injury", "property damage",

 or “personal and advertising injury” by reason of the assumption of liability in a

 contract or agreement.

        59. Pursuant to the CGL Policies, coverage is excluded for "bodily

 injury", "property damage", and “personal and advertising injury” arising out any

 act or omission that violates or is alleged to violate statutes that address the

 distribution of material or information, as described above.

        60. There is an actual and justiciable controversy as to whether any of PCI

 and MNS’ alleged liability for "bodily injury", "property damage", or “personal

 and advertising injury” arose out of the violation of statues addressing the

 distribution of material or information, as described above.

        61. Under Coverage B, the CGL Policies provide coverage for “personal

 and advertising injury”, as that term is defined, caused by an offense arising out of

 an insured’s business that was committed during the CGL Policies’ policy periods.

        62. There is an actual and justiciable controversy as to whether the claims

 against PCI and MNS involve claims for alleged “personal and advertising injury”

 as that term is defined by the CGL Policies.


                                          41
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 42 of 48           PageID #: 42




        63. There is an actual and justiciable controversy as to whether PCI and

 MNS’ alleged “personal and advertising injury” liability was caused by an offense

 committed during any of the CGL Policies’ policy periods.

        64. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” caused by an insured with the knowledge that the act would

 violate the rights of another.

        65. There is an actual and justiciable controversy as to whether PCI and

 MNS knew that their respective acts would violate the rights of another and inflict

 “personal and advertising injury”.

        66. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” arising out of an insured’s written publication of material if

 done by the insured with knowledge of its falsity.

        67. There is an actual and justiciable controversy as to whether PCI’s and

 MNS’ alleged liability for “personal and advertising injury” arises out of PCI’s and

 MNS’ written publication of material done with knowledge of its falsity.

        68. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” arising out of written publication of material whose first

 publication took place before the beginning of the CGL Policies’ policy periods.

        69. There is an actual and justiciable controversy as to whether PCI’s and

 MNS’ alleged liability for “personal and advertising injury” arises out of PCI’s and


                                          42
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 43 of 48          PageID #: 43




 MNS’ written publication of material whose first publication took place before the

 beginning of the CGL Policies’ policy periods.

        70. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” arising out of the failure of goods, products or services to

 conform with any statement of quality or performance made in an insured’s

 “advertisement[s]”.

        71. There is an actual and justiciable controversy as to whether PCI’s and

 MNS’ alleged liability for “personal and advertising injury” arises out of the

 failure of goods, products or services to conform with any statement of quality or

 performance made in PCI’s and MNS’ “advertisement”.

        72. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” arising out of a breach of contract, except an implied contract to

 use another's advertising idea in your "advertisement[s]".

        73. There is an actual and justiciable controversy as to whether PCI’s and

 MNS’ alleged liability for “personal and advertising injury” arises out of a breach

 of contract.

        74. Pursuant to the CGL Policies, coverage is excluded for “personal and

 advertising injury” arising out of the unauthorized use of another’s name or

 product in an insured’s e-mail address, domain name or meta tags, or any other

 similar tactics to mislead another’s potential customers.


                                          43
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 44 of 48         PageID #: 44




        75. There is an actual and justiciable controversy as to whether PCI and

 MNS’ alleged liability for “personal and advertising injury” arises out of the

 unauthorized use of another’s name or product in PCI or MNS’ e-mail address,

 domain name or meta tags, or any other similar tactics to mislead another’s

 potential customers.

        76. Plaintiffs reserve the right to assert any other exclusions or grounds

 for which coverage for the claims against PCI and MNS may be excluded under

 the CGL Policies.

  VI.    NO COVERAGE IS AVAILABLE TO PCI AND MNS UNDER THE
                      UMBRELLA POLICIES

        77. Plaintiffs reassert paragraphs 1 through 76 and incorporate the same

 as though fully stated herein.

        78. The Umbrella Policies contain insuring agreement and exclusionary

 provisions which are the same or substantively similar to provisions contained in

 the CGL Policies. There are actual and justiciable controversies with regard to the

 application of those provisions to the claims asserted in the Underlying Lawsuit for

 the reasons set forth above.

        79. The Umbrella Policies provide that any organization included as an

 insured in the CGL Policies, other than an additional insured, qualifies as an

 Insured under the Umbrella Policies. The Umbrella Policies further provide that

 any organization that has obligated PCI to provide the coverage afforded by the

                                         44
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 45 of 48         PageID #: 45




 Umbrella Policies under an “Insured Contract” is an Insured under the Umbrella

 Policies, but only with respect to covered injury or damage that occurred after the

 insured contract was entered into and with respect to liability arising out of PCI’s

 work or product or other liability arising out of PCI’s negligence.

        80. There is an actual and justiciable controversy as to whether MNS

 qualifies as an Insured entitled to any coverage under the Umbrella Policies.

        81. There is an actual and justiciable controversy as to whether MNS

 qualifies as an Insured entitled to any coverage under the Umbrella Policies by

 virtue of its status under the CGL Policies.

        82. There is an actual and justiciable controversy as to whether MNS has

 obligated PCI to provide MNS coverage afforded under the Umbrella Policies

 under an “Insured Contract.”

        83. There is an actual and justiciable controversy as to whether MNS is

 liable for covered injury or damage that occurred after any Insured Contract with

 PCI was entered into.

        84. There is an actual and justiciable controversy as to whether MNS is

 liable for covered injury or damage arising out of PCI’s work, product, or other

 negligence.

        85. The Umbrella Policies only provide coverage, if at all, for liability in

 excess of any other collectible insurance available to an insured.


                                           45
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 46 of 48          PageID #: 46




        86. There is an actual and justiciable controversy as to whether any

 covered liability exceeds other collectible insurance available to PCI and/or MNS.

        87. Plaintiffs reserve the right to assert any other exclusions or grounds

 for which coverage for the claims against PCI and MNS may be excluded under

 the Umbrella Policies.

            VII. CAUSE OF ACTION FOR DECLARATORY RELIEF

        88. Plaintiffs reassert paragraphs 1 through 87 and incorporate the same

 as though fully set forth herein.

        89. Actual and justiciable controversies exist as to whether any defense or

 coverage is owed to PCI and/or MNS under the CGL Policies and the Umbrella

 Policies in regard to the claims asserted against PCI and MNS in the Underlying

 Lawsuit.

        90. Pursuant to and in accordance with 28 U.S.C. § 2201, Plaintiffs

 request that the Court grant declaratory relief in favor of Plaintiffs and enter a

 judicial determination that Plaintiffs do not have an obligation to provide a defense

 to PCI and MNS in regard to the claims asserted against PCI and MNS in the

 Underlying Lawsuit under the CGL Policies and the Umbrella Policies.

        91. Actual and justiciable controversies exist as to whether any indemnity

 coverage is available to PCI or MNS under the CGL Policies and the Umbrella

 Policies in regard to the claims asserted against PCI and MNS in the Underlying


                                          46
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 47 of 48          PageID #: 47




 Lawsuit.

        92. Pursuant to and in accordance with 28 U.S.C. § 2201, Plaintiffs

 request that the Court grant declaratory relief in favor of Plaintiffs and enter a

 judicial determination that Plaintiffs do not have an obligation to provide any

 indemnity coverage to PCI and MNS in regard to the claims asserted against PCI

 and MNS in the Underlying Lawsuit under the CGL Policies and the Umbrella

 Policies.

                          VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, having alleged the foregoing, now pray for the

 following relief:

       1.     For a declaration of the rights and obligations of the parties hereto

 under the CGL Policies and the Umbrella Policies.

       2.     For a declaration that Plaintiffs have no duty to defend PCI and MNS

 under the CGL Policies and the Umbrella Policies.

       3.     For a declaration that Plaintiffs have no duty to indemnify PCI and

 MNS under the CGL Policies and the Umbrella Policies.

       4.     For attorney fees, interest and costs allowed by applicable law.

       5.     For other and further relief as the Court deems just and equitable.




                                          47
Case 1:20-cv-00436-JAO-RT Document 1 Filed 10/09/20 Page 48 of 48     PageID #: 48




       DATED this 9th day of October, 2020.

                              LETHER LAW GROUP

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       DATED: this 9th day of October, 2020.

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                                      48
